









Dismissed and Memorandum Opinion filed December 23, 2003









Dismissed and Memorandum Opinion filed December 23,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01258-CR

____________

&nbsp;

DUSHAY LEWIS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 23rd
District Court

Brazoria County, Texas

Trial Court Cause No. 43,386

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of possession of a controlled substance with intent to deliever&nbsp; and sentenced to ten years= confinement on July 11, 2003.&nbsp; An untimely motion for new trial was filed on
August 20, 2003.&nbsp; Appellant=s notice of appeal was not filed
until August 20, 2003.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a timely motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of
appeal which complies with the requirements of Rule 26 is essential to vest the
court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed December 23, 2003.

Panel consists of Justices
Edelman, Frost, and Guzman.

Do Not Publish C Tex. R.
App. P. 47.2(b).

&nbsp;





